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 From:                Spiro, Emma (USANJ)
 To:                  Lisa Mack
 Subject:             RE: Torres - Protective Order
 Date:                Thursday, April 30, 2020 11:26:00 AM


 Hi Lisa,

 Completely understood. Thank you for getting back to me.

 Best,

 Emma Spiro
 Assistant United States Attorney
 U.S. Attorney's Office, District of New Jersey
 970 Broad Street, Suite 700, Newark, NJ 07102




 From: Lisa Mack <                    >
 Sent: Thursday, April 30, 2020 11:24 AM
 To: Spiro, Emma (USANJ) <                                   >
 Subject: RE: Torres - Protective Order

 Hi Emma,

 I’m waiting to speak with another attorney who might get involved, because if he does,
 I don’t want to sign a protective order.

 I’m hoping to resolve this today or tomorrow.

 Thanks & stay safe,
 ~Lisa

 Lisa M. Mack
 Office of the Federal Public Defender
 1002 Broad Street
 Newark, NJ 07102



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 From: Spiro, Emma (USANJ)
 Sent: Wednesday, April 29, 2020 10:48 AM
 To: Lisa Mack
 Subject: RE: Torres - Protective Order

 Hi Lisa,

 Just following up on this.

 Thanks,

 Emma Spiro
 Assistant United States Attorney
 U.S. Attorney's Office, District of New Jersey
 970 Broad Street, Suite 700, Newark, NJ 07102




 From: Spiro, Emma (USANJ)
 Sent: Sunday, April 26, 2020 3:42 PM
 To: Lisa Mack
 Subject: Torres - Protective Order

 Hi Lisa,

 As I mentioned, please see attached proposed protective order in US v. Torres. Once signed and
 entered, I will provide pre-indictment discovery this week.

 Thank you!

 Emma Spiro
 Assistant United States Attorney
 U.S. Attorney's Office, District of New Jersey
 970 Broad Street, Suite 700, Newark, NJ 07102
